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 5                             UNITED STATES DISTRICT COURT
 6                                  DISTRICT OF NEVADA
 7                                              ***
 8 UNITED STATES OF AMERICA,           )
                                       )
 9                                     )
                     Plaintiff,        )              2:14-cr-00321-GMN-NJK
10             vs.                     )
                                       )
11 KEITH WILLIAMS                      )
                                       )
12                   Defendant.        )              ORDER
   ____________________________________)
13
14              On August 30, 2016, the Court GRANTED defendant’s oral MOTION for
15 APPOINTMENT of NEW COUNSEL and ORDERED that the CJA administrator shall designate
16 new counsel for KEITH WILLIAMS..
17              Accordingly, IT IS HEREBY ORDERED that GABRIEL L. GRASSO,                   is
18 APPOINTED as counsel for KEITH WILLIAMS for all future proceedings.
19              Todd Leventhal’s office shall forward the file to Mr. Grasso forthwith.
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21
                       DATED this 30        day of August, 2016.
22                     Nunc Pro Tunc: August 30, 2016.
23
24
                                                      ___________________________________
25                                                    UNITED STATES DISTRICT JUDGE
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